
HOOPER, Chief Justice
(concurring).
I concur in the affirmance. However, I disagree with the majority’s statement that this Court has long held that a person on hospital premises for the purpose of visiting a patient is an invitee. The case law cited does not support this proposition. Alabama Baptist Hospital Board v. Carter, 226 Ala. 109, 145 So. 443 (1932), did not address the question whether the plaintiff was an invitee or a licensee. Baptist Medical Center v. Byars, 289 Ala. 713, 271 So.2d 847 (1972), had as the plaintiff a private duty nurse who had come to the hospital to attend a patient she had been hired to attend. Collum v. Jackson Hospital &amp; Clinic, Inc., 374 So.2d 314 (Ala.1979), involved a plaintiff who had gone to a hospital to see a doctor. I was the trial judge in the Collum case; it did not involve a nonbusiness visitor. The question whether a nonbusiness social visitor to a hospital is an invitee has not been heretofore answered by this Court.
The Court of Civil Appeals affirmed the defendant’s summary judgment, relying on Hambright v. First Baptist Church-East*152wood, 638 So.2d 866 (Ala.1994). That case held that a visitor to a church was not an invitee, because the visitor had not come to bestow a material benefit upon the church. However, the holding of Hambright did not turn on the fact that the visitor was on church premises but on the fact that the visitor was there for a social visit and not to bestow a material benefit on the church. Mozelle Wooten, the plaintiff in the present ease, went to the hospital to visit her brother. A hospital expects to regularly receive visitors like Ms. Wooten, just as a business expects to regularly receive customers. A patient is a customer of a hospital and will regularly receive visitors. It is not unreasonable to expect a hospital to provide a reasonably safe premises for a patient’s expected visitors. The Court should straightforwardly and clearly acknowledge that it is establishing today for the first time that a visitor coming to a hospital for a social visit with a patient is an invitee.
